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                                 No. 23-5669

           In the United States Court of Appeals
                   for the Sixth Circuit

                 KAYLA GORE, JAIME COMBS, L.G., and K.N.,

                                                  Plaintiffs-Appellants,

                                      v.

   WILLIAM BYRON LEE, in his official capacity as Governor of the State of
 Tennessee; and LISA PIERCEY, in her official capacity as Commissioner of the
                      Tennessee Department of Health,

                                                 Defendants-Appellees.

               On Appeal from the United States District Court
          for the Middle District of Tennessee (Nashville Division)
                             No. 3:19-cv-00328
                         Honorable Eli Richardson

        PLAINTIFFS-APPELLANTS’ SUPPLEMENTAL BRIEF


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        Tennessee Code Section 1-3-105(c) is relevant to this case in the following
ways:

       First, to the extent the State interprets Section 1-3-105(c) to prohibit amending
the sex designation on birth certificates furnished for purposes of identification,
Section 1-3-105(c) is subsumed within Plaintiffs’ challenge to Tennessee’s policy
or practice of categorically prohibiting transgender persons born in Tennessee from
correcting the sex on their birth certificates to be consistent with their gender identity
(“the Policy”). Compl., R.59, PageID#389.

      Second, Section 1-3-105(c) is relevant in that it further demonstrates that the
Policy is a classification “drawn for the purpose of disadvantaging the group
burdened by the law.” Romer v. Evans, 517 U.S. 620, 633 (1996).

       Third, to the extent the State argues Section 1-3-105(c) supports its argument
that birth certificates constitute government speech, such argument does not save the
Policy from scrutiny.

        In sum, the State’s adoption of Section 1-3-105(c) bolsters Plaintiffs’ claims.

                                    ARGUMENT

I.      Section 1-3-105(c) doubles down on the Policy’s targeted exclusion of
        transgender people.
       Section 1-3-105(c) became effective on July 1, 2023, after the district court’s
decision. See 2023 Tenn. Acts Ch. 486. It defines “sex” within the Tennessee Code
to mean “a person’s immutable biological sex as determined by anatomy and
genetics existing at the time of birth and evidence of a person’s biological sex,”
“unless the context otherwise requires.” Tenn. Code § 1-3-105(c). And it considers
as evidence of a person’s “biological sex” “a government-issued identification
document that accurately reflects a person’s sex listed on the person’s original birth
certificate.” Id. (emphasis added).

      While nothing in Section 1-3-105(c) explicitly disallows changes based on
gender identity for all state forms of identification, the State represented during oral




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argument that the State interprets Section 1-3-105(c) to do so. 1 Not only does this
interpretation render this section a part of the very Policy Plaintiffs challenge,2 but
it undermines the State’s argument below that Plaintiffs’ ability “to obtain other
identity documents, such as driver’s licenses, listing their preferred sex identifier,”
belies Plaintiffs’ claims. Mot. Dismiss, R.66, PageID#821. Indeed, taking the
State’s interpretation of Section 1-3-105-(c) and Policy together, Plaintiffs are
unable to obtain any state identification that correctly reflects their identity. The
Policy, including the State’s interpretation of Section 1-3-105(c), prohibits
amending their birth certificate and Section 1-3-105(c) conditions the sex
designation on other identification documents on their birth certificate.

       Moreover, Section 1-3-105(c)’s definition of sex is nonsensical. As the
Complaint alleges, which must be taken as true, there are “multiple sex-related
characteristics, including hormones, external and internal morphological features,
external and internal reproductive organs, chromosomes, and gender identity” and
“[t]hese characteristics may not always be in alignment.” Compl., R.59,
PageID#381. Indeed, a person’s anatomy and genetics may not always align. See
Zzyym v. Pompeo, 958 F.3d 1014, 1024 (10th Cir. 2020). Sex “is not a cut-and-dried
matter of chromosomes” or external genitalia. Schroer v. Billington, 424 F.Supp.2d
203, 211 (D.D.C. 2006). The statute’s use of this reductive definition of sex “has
been carefully drawn” to target and exclude transgender people, for whom these sex-
related characteristics do not align, “even if it does not use the word ‘transgender’
in the definition.” 3

1
  Plaintiffs’ description of the State’s interpretation should not be viewed as a
concession that it is correct or lawful. See, e.g., Application for Extraordinary Relief,
Doe v. Tenn. Dep’t of Safety and Homeland Security, No. 24-0503-III (Davidson
Cnty. Chancery Ct. filed Apr. 23, 2024).
2
  To be clear, it is this wholesale inability to obtain a birth certificate that reflects
their identity—distinct from a person’s original birth record and vital statistics
record—that Plaintiffs challenge, rather than advancing any particular standard for
permitting amendments. Compl., R.59, PageID#415. Whether validation of a
person’s identity in form of a mental health or medical provider can be required is
matter of policy that Plaintiffs’ requested relief does not address.
3
 Hecox v. Little, 79 F.4th 1009, 1025 (9th Cir. 2023), opinion withdrawn, No. 20-
35813, 2024 WL 1846141 (9th Cir. Apr. 29, 2024); see also Kadel v. Folwell, No.
22-1721, 2024 WL 1846802, at *12, *14 n.23 (4th Cir. Apr. 29, 2024) (en banc).
Plaintiffs acknowledge the Hecox opinion was recently withdrawn; the withdrawal


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      In this way, Section 1-3-105(c) mirrors and reinforces the existing provisions
underlying the Policy. Tennessee Code Section 68-3-203(d) – the Policy’s backbone
– was similarly enacted to target transgender people. The original bills for the Vital
Records Act of 1977 expressly authorized the amendment of the sex designation on
Tennessee-issued birth certificates following “sex change surgery.” See, e.g., HB
425, R.62-12, PageID#661. However, the bills were amended to expressly prohibit
such amendments in response to “controversy” at the time. Tr. of HB 425 Floor
Proceedings, R.62-14, PageID#709-710; SB 162, R.62-13, PageID#697. That
controversy pertained to Renee Richards’s participation in the U.S. Open. See R.62-
18, PageID#773; R.62-19, PageID#775; R.62-20, PageID#777. The Policy targets
transgender people for exclusion, barring them from having birth certificates that
accurately reflect their identities.

II.   The State’s interpretation of Section 1-3-105(c) bolsters Plaintiffs’ equal
      protection claim, as it cannot plausibly be understood as anything other
      than an effort to disfavor transgender people.

       The State’s sweeping interpretation of Section 1-3-105(c) to prohibit any
amendment to the gender marker in any state form of identification demonstrates
that Tennessee’s Birth Certificate Policy cannot be explained by anything other than
“a bare … desire to harm a politically unpopular group,” which “cannot constitute a
legitimate governmental interest.” U.S. Dep’t of Agric. v. Moreno, 413 U.S. 528,
534 (1973).

        Here, the “text, structure, purpose, and effect” of the Policy and Section 1-3-
105(c), as interpreted by the State, “all demonstrate” that its purpose is to single out
transgender people for discriminatory treatment. Hecox, 79 F.4th at 1022. So does
Section 1-3-105(c)’s legislative history. During the legislative proceedings leading
to Section 1-3-105(c)’s enactment, for example, Representative Grills, one of the
bill’s sponsors, referred to the idea of non-cisgender people as “a road that seems to
be attacking the very character of God.” 4 Another bill sponsor, Representative

pertained to the scope of relief “in light of the Supreme Court’s decision in Labrador
v. Poe, 144 S. Ct. 921 (2024).” See Hecox, 2024 WL 1846141, at *1.
4
 Civil Justice Subcomm. Feb. 21, 2023 Hrg., Tenn. House of Representatives,
https://tnga.granicus.com/player/clip/27626?view_id=703&redirect=true (at
1:02:10). See also Civil Justice Subcomm. Mar. 1, 2023 Hrg., Tenn. House of
Representatives,


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Bulso, stated that the bill was meant “to set down a marker” because there is,
according to him, debate about “what a transgender person is” and “the reason is that
we have only two kinds of people in the world. We’ve got men and we’ve got
women. We have males and we have females.”5 He further stated that telling
someone “that it’s normal to want to be the other sex” is “not normal” but rather “the
opposite of normal.” 6 The legislative record is replete with similar statements. 7

        The State’s Policy and Section 1-3-105(c) are not rationally related – let alone,
substantially related or narrowly tailored – to any of the State’s proffered
justifications. See Opening Br. at 41-45, Reply Br. at 23-27. The State’s interests
“ma[k]e no sense in light of how” Tennessee deals with the birth certificates of
people born with ambiguous genitalia (i.e., permitting corrections not based on
genitalia) and how it relies on the original birth certificate – not a corrected or
amended one – to determine access to sex-designated sports or facilities (Response
Br. at 33).8 Bd. of Trs. of Univ. of Ala. v. Garrett, 531 U.S. 356, 366 n.4 (2001).

        As the First Circuit explained in holding the Defense of Marriage Act
unconstitutional, “the Supreme Court has now several times struck down state or
local enactments without invoking any suspect classification.” Massachusetts v.
U.S. Dep’t of Health & Hum. Servs., 682 F.3d 1, 10 (1st Cir. 2012). “In each, the
protesting group was historically disadvantaged or unpopular, and the statutory
justification seemed thin, unsupported or impermissible.” Id.

https://tnga.granicus.com/player/clip/27626?view_id=703&redirect=true (Rep.
Grills at 1:12:30).
5
 Civil Justice Subcomm. Mar. 1, 2023 Hrg.,
https://tnga.granicus.com/player/clip/27745?view_id=703&redirect=true (Reb.
Bulso at 1:15:35).
6
    Id.
7
 See generally Tenn. House Floor Session, 27th Legislative Day (Apr. 21, 2023),
https://tnga.granicus.com/player/clip/28402?view_id=703&redirect=true; Judiciary
Comm. Feb. 28, 2023 Hrg., Tenn. Senate,
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Senate Floor Session, 16th Legislative Day (Mar. 13, 2023),
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8
  Section 1-3-105(c) further illustrates the State’s ability to rely on original birth
certificates, as opposed to a corrected or amended ones, when it needs to ascertain a
person’s designation based on genitalia alone.

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       For example, in Moreno, the Supreme Court invalidated Congress’s decision
to exclude from the food stamp program households containing unrelated
individuals, because the rule disqualified many otherwise-eligible and particularly
needy households and evinced a “bare congressional desire to harm a politically
unpopular group.” 413 U.S. at 534, 537–38. That “bare … desire to harm” is more
than present here as evinced by Section 1-3-105(c)’s legislative history, the precision
with which the Policy targets only transgender people for disfavor, and the lack of
relation between the State’s proffered interests and the Policy.

       Similarly, in City of Cleburne v. Cleburne Living Ctr., 473 U.S. 432 (1985),
the Supreme Court overturned a local ordinance as applied to the denial of a permit
for a group home for people with mental disabilities. Among the reasons the Court
found the proffered interests in that case unconvincing was that nursing or
convalescent homes were allowed without a permit. As such, what remained were
“mere negative attitudes, or fear, unsubstantiated by factors which are properly
cognizable in a zoning proceeding.” Id. at 448. Such is the case here, where the
State’s Policy permits people born with ambiguous genitalia to amend the sex
designation on their birth certificates based on other sex characteristics, but prohibits
amendments for transgender people. Like in Cleburne, the Policy and Section 1-3-
105(c) thus appear to rest on “mere negative attitudes” or “fears” about transgender
people, which is not enough to justify the Policy.

       Finally, in Romer v. Evans, 517 U.S. 620 (1996), the Supreme Court struck
down Colorado’s Amendment 2, which prohibited state or local regulations from
protecting gay people from discrimination. The Court called “unprecedented” the
“disqualification of a class of persons from the right to seek specific protection from
the law” and deemed the amendment a “status-based enactment divorced from any
factual context from which we could discern a relationship to legitimate state
interests.” Id. at 632–33, 635. So, too, is the case here, where the Policy coupled
with the State’s interpretation of Section 1-3-105(c) create an unprecedented
prohibition that prevents transgender people from obtaining any state form of
identification that accurately reflects their identity. No state has gone as far as
Tennessee has to target transgender people for erasure and constrain their ability
to fully and actively participate in our society.

       Some additional context may be helpful. Against the backdrop of the Policy
and during this case’s pendency, aside from Section 1-3-105(c), the State adopted
the following measures affecting transgender people’s ability to participate fully in
public life, among others:

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          • Requiring the forced outing of transgender students, 2024 Tenn. Acts
            Ch. 832;

          • Prohibiting medically necessary healthcare for transgender adolescents,
            2023 Tenn. Acts Ch. 1;

          • Prohibiting “gender marker changes that are inconsistent” with one’s
            birth-assigned sex on driver’s licenses, Tenn. Dep’t of Safety &
            Homeland Security, DPL – 302 Proof of Identity, revised July 3, 2023;

          • Prohibiting transgender students from participating in school sports,
            2023 Tenn. Pub. Acts Ch. 285 and 2022 Tenn. Acts Ch. 1005;

          • Restricting instruction on sexual orientation or gender identity, 2021
            Tenn. Acts Ch. 281 and 2022 Tenn. Acts Ch. 818; and

          • Requiring signage by businesses if they respect a transgender person’s
            identity; 2021 Tenn. Acts Ch. 453.

These are but a sampling of the measures the State adopted in the last four years
targeting transgender people for discrimination. Neither the Constitution nor our
laws requires courts to turn a blind eye to this reality, which demonstrates beyond
doubt that the State is engaged in a targeted campaign to limit or prohibit transgender
people’s ability to live freely and authentically in Tennessee.

      Plaintiffs stand by their arguments that the Policy, including its incorporation
of Section 1-3-105(c), must be subjected to either intermediate or strict scrutiny
under the Fourteenth Amendment. Opening Br. at 32-41, 45-57; Reply Br. at 8-22.
But even rational basis review “imposes a requirement of some rationality in the
nature of the class singled out.” Rinaldi v. Yeager, 384 U.S. 305, 308-09 (1966)
(emphasis added). And here, the Policy and Section 1-3-105(c) are specifically
“drawn for the purpose of disadvantaging the group burdened by the law.” Romer,
517 U.S. at 633.




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III.   To the extent the State argues that Section 1-3-105(c) bolsters its
       argument that birth certificates merely convey the State’s message or
       viewpoint on sex, such argument cannot save the Policy from scrutiny.

      At oral argument, the State asserted that Section 1-3-105(c) supported its
argument that birth certificates merely convey the State’s message or viewpoint on
sex. This does not save the Policy from scrutiny, however.

      In Matal v. Tam, 137 S. Ct. 1744 (2017), the Supreme Court instructed lower
courts to “exercise great caution before extending … government-speech
precedents” because the doctrine “is susceptible to dangerous misuse.” Id. at 1760.
And in that case, the Federal Circuit cited birth certificates as a matter of private
speech. See In re Tam, 808 F.3d 1321, 1348 (Fed. Cir. 2015).

       That makes eminent sense. Birth certificates have always been used as forms
of identification and not merely as recordation of historical facts for the State’s
purposes. And no one disputes that birth certificates communicate who a person is,
including their sex—matters determined in relation to the person themself, not in
relation to the State.

      Ultimately, the State routinely permits amendments to birth certificates that
diverge from so-called historical facts assessed at birth. This includes name changes,
parentage changes post-adoption, and corrections to the sex designation for people
born with ambiguous genitalia. The State does not control what name a person will
have or whom their parents are, and the State certainly does not control the sex by
which any person identifies, whether transgender, cisgender, or born with
ambiguous genitalia.

       But even if the Court were to accept that Section 1-3-105(c) bolsters the
State’s argument that birth certificates are government speech, that does not save the
State’s Policy from scrutiny. The State simply cannot have it both ways. To the
extent the State’s position is that the sex designation on a birth certificate conveys
the government’s speech on the meaning of sex, that ties right back into how
adopting such definition erases transgender people’s identities, targeting them for
disfavor, and amplifies the equal protection problems outlined above. And if birth
certificates are government speech, then that would bolster Plaintiffs’ due process
claims, cementing Plaintiffs’ informational privacy claim as it is undoubtedly the
government that is disclosing Plaintiffs’ transgender status – “excruciatingly private
and intimate information,” Powell v. Schriver, 175 F.3d 107, 111 (2d Cir. 1999) –



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such that it is protected from disclosure under Bloch v. Ribar, 156 F.3d 673 (6th Cir.
1998).

                                   CONCLUSION

       “Gender identity is real.” Dekker v. Weida, 679 F.Supp.3d 1271, 1299 (N.D.
Fla. 2023). Transgender people are who they say they are. “[W] we must heed their
voices: ‘the woman that I am,’ ‘the man that I am.’” Arroyo Gonzalez v. Rossello
Nevares, 305 F.Supp.3d 327, 334 (D.P.R. 2018).

       Through its Policy and Section 1-3-105(c), the State seeks to erase
transgender peoples’ identities and to prevent them from participating fully in public
life. Our Constitution does not countenance such unprecedented action, which
infringes on transgender people’s rights to equality and informational privacy.

      Plaintiffs respectfully request that the Court reverse the dismissal of Plaintiffs’
equal protection and informational privacy claims, and to remand the case.

Dated May 14, 2024.                              Respectfully submitted,

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                        CERTIFICATE OF COMPLIANCE

         1.    This brief complies with the type-volume limit of set forth in the

Court’s May 3, 2024 letter order because, excluding the parts of the brief exempted

by Fed. R. App. P. 32(f), the brief contains 2,597 words and does not exceed 10

pages.

         2.    This brief complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6) because this

brief has been prepared in a proportionally spaced typeface using Microsoft Word

in Times New Roman font size 14.

                                               /s/ Omar Gonzalez-Pagan
                                               Omar Gonzalez-Pagan




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                           CERTIFICATE OF SERVICE

      On May 14, 2024, a true and correct copy of the foregoing was filed with the

electronic case filing (ECF) system of the U.S. Court of Appeals for the Sixth

Circuit, which currently provides electronic service on all counsel of record.

                                              /s/ Omar Gonzalez-Pagan
                                              Omar Gonzalez-Pagan




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